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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


    DONALD AGEE, JR. et al.,                          Case No. 1:22-CV-00272-PLM-RMK-JTN

                            Plaintiffs,
                                                         NOTICE OF THE MICHIGAN
           v.
                                                          INDEPENDENT CITIZENS
    JOCELYN BENSON, et al.,                             REDISTRICTING COMMISSION
                                                      CONCERNING PROPOSED REMEDIAL
                            Defendants.                 PLANS AND PUBLIC HEARINGS


          PLEASE TAKE NOTICE that, on February 1, 2024, the Michigan Independent

   Citizens Redistricting Commission (the “Commission”) voted, in accordance with Mich.

   Const. art. 4, § 6 and pursuant to this Court’s order of January 11, 2024 (ECF No. 156), to

   publish for notice-and-comment ten proposed remedial plans for the Michigan House of

   Representatives. Each plan, listed below, revised the configurations for Michigan House

   Districts 1, 7, 8, 10, 11, 12, 14. Those plans include, in alphabetical order:

                   Bergamot 1, attached as Exhibit A;

                   Bergamot 2 – Lakeshore, attached as Exhibit B;

                   Daisy 2, attached as Exhibit C;

                   Motown Sound, attached as Exhibit D;

                   Riverwalk, attached as Exhibit E;

                   Spirit of Detroit, attached as Exhibit F;

                   Szetela V4, attached as Exhibit G;

                   Tulip, attached as Exhibit H;

                   Water Lily, attached as Exhibit I; and

                   Willow, attached as Exhibit J.
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          Depictions of the Detroit area in the proposed remedial plans are attached as the

   above-referenced exhibits to this notice.1 In addition, by visiting the Commission’s website at

   https://www.michigan.gov/micrc/mapping-process-2024/draft-proposed-maps, the public

   may access these proposed remedial plans, shapefiles and block-equivalency files of those

   plans, and other data related to those plans.

          PLEASE TAKE FURTHER NOTICE that, in accordance with the Court’s order of

   January 11, 2024 (ECF No. 156), the public comment period will run through and including

   February 23, 2024.     The Commission has also scheduled three public hearings on the

   proposed plans—two in the City of Detroit, and one virtual hearing—as follows:

   Virtual Public Hearing

   Date:         February 15, 2024
   Time:         9:00 a.m. - 12:00 p.m., 1:00 p.m. - 4:00 p.m., 5:00 p.m. - 8:00 p.m.
   Location:     Virtual attendance instructions to be provided via Commission website
   In-Person Hearings

   Date:         February 21, 2024
   Time:         10:00 a.m.- 1:00 p.m., 2:00 - 5:00 p.m., 6:00 - 8:00 p.m.
   Location:     Greater Grace Temple
                 23500 W. 7 Mile Road
                 Detroit, MI 48219
   Date:         February 22, 2024
   Time:         10:00 a.m.- 1:00 p.m., 2:00 - 5:00 p.m., 6:00 - 8:00 p.m.
   Location:     Second Ebenezer Church
                 14601 Dequindre Street (Bishop Edgar L. Vann Blvd.)
                 Detroit, MI 48212-1503




   1
    The renderings depict all districts in the Michigan House of Representatives plan that were
   modified. The Commission did not include a statewide rendering of each plan with this notice
   because, when rendering it at the 8.5 x 11” size for the Court’s electronic filing system, the
   Detroit area was so small that one could not easily visualize the changes, making it not useful
   to the Court or parties. The full statewide plans are available on the Commission’s website.


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    Dated: February 2, 2024                        Respectfully submitted,

                                                   /s/ David H. Fink__________
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